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 1   CLEMENTE M. JIMÉNEZ, ESQ.
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 4
 5   Attorney for JOSE RODRIGUEZ-RODRIGUEZ
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                       Case No.: 2:16-cr-009 TLN

11                    Plaintiff,                     STIPULATION AND ORDER
12                                                   VACATING DATE, CONTINUING
                vs.                                  CASE, AND EXCLUDING TIME
13
14   JUAN ARQUIMIDEZ VILLANUEVA,                     DATE: February 22, 2018
     et al.,                                         TIME: 9:30 a.m.
15                                                   JUDGE: Hon. Troy L. Nunley
16                    Defendants.

17
18              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,

19   Jason Hitt, Counsel for Plaintiff; Attorney Clemente M. Jiménez, Counsel for Defendant

20   JOSE RODRIGUEZ-RODRIGUEZ; Attorney Dina Santos, Counsel for Defendant

21   JUAN ARQUIMIDEZ VILLANUEVA; and Attorney Kyle Knapp, Counsel for

22   Defendant RICHARD LOPEZ, that the status conference in this matter currently

23   scheduled for February 22, 2018, at 9:30 a.m. be vacated, and the matter be continued to

24   this court’s criminal calendar on April 12, 2018, at 9:30 a.m. for further status

25   conference. Negotiations in the case are ongoing as to all defendants. The parties require

26   additional time to review mitigating information, conduct further investigation, and

27   review records. IT IS FURTHER STIPULATED that time within which the trial of this

28   case must be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be
     excluded from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local



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 1   code T-4), and that the ends of justice served in granting the continuance and allowing
 2   the defendant further time to prepare outweigh the best interests of the public and the
 3   defendant to a speedy trial.
 4
 5   DATED:        February 20, 2018           /S/   Jason Hitt
                                               McGREGOR SCOTT
 6
                                               by JASON HITT
 7                                             Attorney for Plaintiff
 8                                             /S/   Clemente M. Jiménez
 9                                             CLEMENTE M. JIMÉNEZ
                                               Attorney for Jose Rodriguez-Rodriguez
10
11                                             /S/   Dina L. Santos
                                               DINA L. SANTOS
12                                             Attorney for Juan Arquimidez Villanueva
13
                                               /S/   Kyle Knapp
14                                             KYLE KNAPP
15                                             Attorney for Richard Lopez
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 1                                              ORDER
 2
                IT IS SO ORDERED, that the status of counsel hearing in the above-entitled
 3
     matter, scheduled for February 22, 2018, at 9:30 a.m., be vacated and the matter
 4   continued for further status conference on April 12, 2018, at 9:30 a.m. The Court finds
 5   that time under the Speedy Trial Act shall be excluded through that date in order to afford
 6   counsel reasonable time to prepare. Based on the parties’ representations, the Court finds
 7   that the ends of justice served by granting a continuance outweigh the best interests of the
 8   public and the defendants to a speedy trial.
 9
10   This 20th day of February, 2018
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12                                                       Troy L. Nunley
                                                         United States District Judge
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